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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ANN MARIE WATKINS                                 :      CIVIL ACTION
697 Alum Rock Road                                :
Newpark, PA 17352                                 :      No.____________________
                                                  :
                            Plaintiff,            :
           v.                                     :
                                                  :
UNITED CEREBRAL PALSY                             :
OF SOUTH CENTRAL                                  :
PENNSYLVANIA, INC.                                :
788 Cherry Tree Court                             :
Hanover, PA 17331                                 :
                                                  :
and                                               :
                                                  :
ROY RHOADES                                       :
123 Quarry Road                                   :
Delta, PA 17302                                   :
                                                  :
and                                               :
                                                  :
MARGARET RHOADES                                  :
123 Quarry Road                                   :
Delta, PA 17302                                   :
                                                  :
                            Defendants.           :
                                                  :

                                         CIVIL ACTION COMPLAINT

           Plaintiff, Ann Marie Watkins, by and through her undersigned counsel, files this Civil

Action Complaint, averring as follows:

                                             I.   Introduction

      1.         Plaintiff, Ann Marie Watkins (hereinafter “Plaintiff”), initiates this action to seek

redress against the above-named Defendants, her former employers, for unlawful sexual

harassment and retaliation, in violation of Title VII of the Civil Rights Act of 1964, as amended

(“Title VII”) and other applicable federal and state law.
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                                                II.   Parties

    2.      Plaintiff is an adult female, currently residing at the above address.

    3.      Defendant, United Cerebral Palsy of South Central Pennsylvania, Inc. (hereinafter

“Defendant UCP”) is a not-for-profit corporation created and existing pursuant to the laws of the

Commonwealth of Pennsylvania with a place of business at the above address.

    4.      Defendant, Roy Rhoades, is an adult male currently residing at the above address.

    5.      Defendant, Margaret Rhoades, is an adult female currently residing at the above

address.

    6.      At all times relevant, Defendants acted by and through their agents, servants, and

employees, each of whom, at all times relevant, acted within the scope of his or her job duties.

    7.      Defendant UCP is an “employer” within the meaning of Title VII because it is

engaged in an industry affecting interstate commerce and because it maintained or maintains

fifteen (15) or more employees for each working day in each of twenty (20) or more weeks in the

current or preceding calendar year.

    8.      Upon information and belief, because of their interrelation of operations, common

management, centralized control of labor relations, common ownership or financial controls, and

other factors, the named Defendants are sufficiently interrelated and integrated in their activities,

labor relations, ownership and management that they may be treated as a single employer of

Plaintiff for purposes of the instant action.

                                      III. Jurisdiction and Venue

    9.      All of the allegations contained in the foregoing paragraphs of this Complaint are

incorporated by reference herein as if the same were set forth at length.

    10.     The Court may properly maintain personal jurisdiction over Defendants because their

contacts with this state and this judicial district are sufficient for the exercise of jurisdiction over
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them to comply with traditional notions of fair play and substantial justice, satisfying the

standard set forth by the United States Supreme Court in International Shoe Co. v. Washington,

326 U.S. 310 (1945) and its progeny.

    11.     The United States District Court for the Middle District of Pennsylvania may exercise

original subject-matter jurisdiction over the instant action pursuant to 28 U.S.C. §§ 1331 and

1343(a)(4) because it arises under the laws of the United States and seeks redress for violations

of civil rights.

    12.     The Court may also maintain supplemental jurisdiction over state law claims set forth

herein pursuant to 28 U.S.C. § 1367(a) and Rule 18(a) of the Federal Rules of Civil Procedure

because they are sufficiently related to one or more claims within the Court’s original

jurisdiction in that they form part of the same case or controversy.

    13.     Venue is properly laid in the Middle District of Pennsylvania pursuant to 28 U.S.C.

§§ 1391(b)(1) and 1391(b)(2) because Defendants are located in and conduct business in this

judicial district and because a substantial part of the acts and/or omissions giving rise to the

claims set forth herein occurred in this judicial district (the Plaintiff was employed in the Middle

District of Pennsylvania at the time of the unlawful actions set forth herein).

    14.     The Court may maintain supplemental jurisdiction over Plaintiff’s state law assault

and battery claims against Defendant Roy Rhodes (set forth in Count III of the instant

Complaint) because one or more federal claims are asserted against him and/or because, pursuant

to 28 U.S.C. § 1367(a): (i) the Court’s original jurisdiction in the instant case is based upon 28

U.S.C. § 1331 as opposed to 28 U.S.C. § 1332; (ii) the claims against Defendant Roy Rhodes are

sufficiently related to the claim(s) within the Court’s original jurisdiction that they form part of

the same case or controversy; (iii) the claims against Defendant Roy Rhodes do not involve

novel or complex issues of state law; (iv) the claims against Defendant Roy Rhodes do not
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predominate over the claims over which the Court has original jurisdiction; and (v) there is no

other compelling reason to decline jurisdiction over the state law claims against Defendant Roy

Rhodes.

                        IV.     Procedural and Administrative Remedies

   15.       All of the allegations contained in the foregoing paragraphs of this Complaint are

incorporated by reference herein as if the same were set forth at length.

   16.       Plaintiff has satisfied the procedural and administrative requirements for proceeding

under Title VII and the PHRA as follows:

             a. On or about June 16, 2010, Plaintiff filed a timely written charge of

                discrimination against Defendants with the Philadelphia office of the Equal

                Employment Opportunity Commission (“EEOC”) (EEOC No. 530-2010-02440)

                alleging sexual harassment and retaliation;

             b. Plaintiff also cross-filed the aforementioned charges of discrimination with the

                Pennsylvania Human Relations Commission and will amend her Complaint to

                include a claim under the Pennsylvania Human Relations Act upon the expiration

                of the applicable period for investigation;

             c. The EEOC issued a Notice of Right to Sue on the foregoing charges on or about

                January 24, 2011; and

             d. The instant action is timely because it is initiated within ninety (90) days of the

                receipt of the aforementioned Notice.

   17.       Plaintiff has exhausted her administrative remedies as to the allegations of this

Complaint.
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                                  V.      Factual Background

   18.     All of the allegations contained in the foregoing paragraphs of this Complaint are

incorporated by reference herein as if the same were set forth at length.

   19.     Plaintiff was employed by Defendants as a Home Healthcare Aide.

   20.     Plaintiff worked as an Aide for Defendant Roy Rhoades from October 2007 until

January 21, 2010 when she was constructively terminated because of Defendant UCP’s failure to

address a sexual harassment complaint.

   21.     As a Home Healthcare Aide Plaintiff was obligated to wash Defendant Roy Rhoades

and care for his needs.

   22.     On a regular basis beginning shortly after she began working with hum, Defendant

Roy Rhoades asked Plaintiff to play with his penis.

   23.     Defendant Roy Rhoades attempted to bite Plaintiff’s cleavage, made inappropriate

sucking sounds, would request Plaintiff to soap up his private parts and pull on his penis, and

committed other improper and sexually harassing conduct.

   24.     Plaintiff complained to Defendant Margaret Rhoades regarding the foregoing conduct

but she refused to take action to redress same.

   25.     Defendant UCP was also on notice of Defendant Roy Rhodes’ sexually harassing

conduct before he harassed Plaintiff because of complaints by other employees who had worked

with him, but took no action to redress his conduct.

                                               Count I
                                   Title VII – Sexual Harassment

   26.     All of the allegations contained in the foregoing paragraphs of this Complaint are

incorporated by reference herein as if the same were set forth at length.
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    27.      The foregoing conduct by Defendants constituted unlawful sexual harassment against

Plaintiff, in violation of Title VII.

    28.      As a result of Defendants’ unlawful harassment, Plaintiff has suffered damages as set

forth herein.

    WHEREFORE, Plaintiff seeks the damages set forth in the Ad Damnum clause of this

    Complaint, infra.

                                               Count II
                                        Title VII - Retaliation

    29.      All of the allegations contained in the foregoing paragraphs of this Complaint are

incorporated by reference herein as if the same were set forth at length.

    30.      In complaining to Defendants about sexual harassment, Plaintiff engaged in conduct

that is protected under Title VII.

    31.      The Defendants’ conduct as aforesaid constituted unlawful retaliation.

    32.      As a result of Defendants’ unlawful retaliation, Plaintiff has suffered damages as set

forth herein.

          WHEREFORE, the Plaintiff seeks the damages set forth in the Ad Damnum Clause of

this Complaint, infra.

                                                  Count III
                                  Plaintiff v. Defendant Roy Rhodes Only
                                             Assault and Battery


    33.      All of the allegations contained in the foregoing paragraphs of this Complaint are

incorporated by reference herein as if the same were set forth at length.

    34.      In Placing Plaintiff in fear of an improper and unwanted touching and/or subjecting

Plaintiff to such touching, Defendant Roy Rhoades committed the torts of assault and battery.
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       WHEREFORE, the Plaintiff seeks the damages set forth in the Ad Damnum Clause of

this Complaint, infra.

                             Ad Damnum Clause/Prayer for Relief

       WHEREFORE, the Plaintiff prays that the Court enter judgment in her favor and against

the Defendants and that it enter an Order as follows:

   a. Defendants are to be permanently enjoined from permitting sexual harassment against

       Plaintiff;

   b. Defendants are to be prohibited from continuing to maintain their unlawful policy,

       practice, or custom of permitting sexual harassment and are to be ordered to promulgate

       an effective policy against such harassment and to adhere thereto;

   c. Defendants are to be permanently enjoined from retaliating against Plaintiff for

       exercising her rights under applicable law;

   d. Defendants are to be prohibited from continuing to maintain their unlawful policy,

       practice, or custom of retaliating against employees for engaging in protected activity

       under federal and/or state law, and are to be ordered to promulgate an effective policy

       against such retaliation and to adhere thereto;

   e. Defendants are to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff whole for

       any and all pay and benefits Plaintiff would have received had it not been for Defendants’

       unlawful actions, including but not limited to back pay, front pay, salary, pay increases,

       bonuses, medical and other benefits, training, promotions, pension, and seniority.

       Plaintiff should be accorded all benefits unlawfully withheld from the date she first

       suffered discrimination and retaliation at the hands of Defendants until the date of

       verdict;
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f. Plaintiff is to be awarded actual damages, as well as damages for the pain, suffering, and

   humiliation caused to her by Defendants’ actions;

g. Plaintiff is to be awarded punitive damages as permitted by applicable law, in an amount

   believed by the Court or trier of fact to be appropriate to punish Defendants for their

   willful, deliberate, malicious, and outrageous conduct, and to deter Defendants and/or

   other employers from engaging in such misconduct in the future;

h. Plaintiff is to be accorded any and all other equitable and legal relief as the Court deems

   just, proper, and appropriate;

i. Plaintiff is to be awarded the costs and expenses of this action and reasonable legal fees

   as provided by applicable federal and state law;

j. Any verdict in favor of Plaintiff is to be molded by the Court to maximize the financial

   recovery available to Plaintiff in light of the caps on certain damages set forth in

   applicable federal law and to reflect the tax consequences thereof;

k. The Plaintiff is to be granted such additional injunctive or other relief as she may request

   during the pendency of this action in an effort to ensure that Defendants do not engage –

   or cease engaging – in unlawful retaliation against Plaintiff or other witnesses to this

   action;

l. The Court is to maintain jurisdiction over this action after verdict to ensure compliance

   with its Orders therein.
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                                     Respectfully submitted,

                                     KOLMAN ELY, P.C.

                               By:   /s/ Wayne A. Ely, Esquire
                                     Wayne A. Ely, Esquire
                                     Attorneys for Plaintiff
                                     414 Hulmeville Avenue
                                     Penndel, PA 19047
                                     Phone: (215) 750-3134
                                     Fax: (215) 750-3138
April 25, 2011
